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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

MARCUS CAMACHO, :
Petitioner : CIVIL ACTION
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BARRY SMITH et al., : No. 20-3599
Respondents :

ORDER
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AND NOW, this gS. ay of November, 2021, upon careful and independent
consideration of Petitioner Marcus Camacho’s Petition for Writ of Habeas Corpus (Doc. No. 1),
the Respondents’ Response to the Petition (Doc. No. 8), Magistrate Judge Timothy R. Rice’s
Report and Recommendation (Doc. No. 10), and Mr. Camacho’s Objection to the Report and
Recommendation (Doc. No. 13), and for the reasons given in the accompanying Memorandum, it
is ORDERED that:

1. The Report and Recommendation is APPROVED and ADOPTED.

2. The Petition for Writ of Habeas Corpus is DISMISSED WITH PREJUDICE.

3, There is no probable cause to issue a certificate of appealability.

4. The Clerk of the Court shall mark this case CLOSED, including for statistical

purposes.

BY THE COURT:

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ENE E.K. PRATTER
ED STATES DISTRICT JUDGE

  

 

 
